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   1   CARLOS R. HOLGUÍN (Cal. Bar No. 90754)
   2   PETER A. SCHEY (Cal. Bar No. 58232)
       Center for Human Rights & Constitutional Law
   3   256 South Occidental Boulevard
   4   Los Angeles, CA 90057
       Telephone: (213) 388-8693
   5   Email: crholguin@centerforhumanrights.org
   6          pschey@centerforhumanrights.org
   7   LEECIA WELCH (Cal. Bar No. 208741)
   8   National Center for Youth Law
       405 14th Street, 15th Floor
   9   Oakland, CA 94612
  10   Telephone: (510) 835-8098
       Email: lwelch@youthlaw.org
  11

  12   Listing continues on next page
  13
       Attorneys for Plaintiffs
  14

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  16
                              UNITED STATES DISTRICT COURT
  17
               CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
  18
       Jenny Lisette Flores, et al.,              Case No. CV 85-4544-DMG (AGRx)
  19
                        Plaintiffs,               EXHIBITS IN SUPPORT OF MOTION TO
  20                                              ENFORCE SETTLEMENT (VOL. 2: EXS.
             v.                                   21-30, PAGES 109-73, REDACTED
  21
                                                  EXHIBITS ONLY)
  22   Jefferson B. Sessions, Attorney General,
       et al.,                                    Hearing: June 29, 2018
  23
                                                  Time:    9:30 a.m.
                        Defendants.
  24                                              Room:    1st St. Courthouse
                                                           Courtroom 8C
  25

  26         REDACTED VERSIONS OF DOCUMENTS FILED UNDER SEAL
  27

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   1   Counsel for Plaintiffs, continued
   2
       HOLLY S. COOPER (Cal. Bar No. 197626)
   3   Co-Director, Immigration Law Clinic
   4   CARTER C. WHITE (Cal. Bar No. 164149)
       Director, Civil Rights Clinic
   5   University of California Davis School of Law
   6   One Shields Ave. TB 30
       Davis, CA 95616
   7   Telephone: (530) 754-4833
   8   Email: hscooper@ucdavis.edu
              ccwhite@ucdavis.edu
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   1   I, Carlos Holguín, do hereby declare that true and correct copies of the following
   2   documents are attached hereto:
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   1        I declare under penalty of perjury that the foregoing is true and correct.
   2
            Executed on this 14th day of April, 2018, at Santa Clarita, California.
   3

   4                                                Respectfully submitted,

   5                                                Carlos Holguín
   6
                                                    /s/ Carlos Holguín
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 1 I,                                     declare as follows:
 2
 3     1.    This declaration is based on my personal knowledge. If called to testify in this
4      case, I would testify competently about these facts.
 5     2.    I am 16 years old. I came by myself to the United States from Mexico in 2017. I
 6     was taken to Southwest Key in San Diego, where I stayed for three months. I have been
 7     at Shiloh Residential Treatment Center for approximately nine months.
 8     3.    I want to live with my dad, who is in San Jose, California, and he wants me to live
 9     with him. He applied to be my sponsor and has been trying to reunify with me since I
10     was at Southwest Key. When I was at Southwest Key, I was told that I would be released
11     to my dad within three months. Things move much faster at Southwest Key. Things
12     move very slowly at Shiloh. We have been waiting to reunify for about one year. My
13     dad completed all the reunification requirements. He completed a home study, and it
14     went well. I talk with him twice a week. I have been told that the doctor has to say it is
15     alright to release me to my dad. I was supposed to be released at the end of this month,
16     but I was told that I am a bit aggressive, so I am still here. My brother was murdered
17     recently, so I have been more sad than normal.
18     4.    I can't remember exactly when this happened, but a few months ago, an attorney
19     met with me and explained that I had a right to seek a bond hearing. I signed a form
20     requesting a bond hearing, but the attorney never came back, and I've never had a bond
21     hearing.
22     5.    I take two types of medications. I am told that both medications are for depression
23     6.    I have said bad words to other minors here. The staff here say I need to behave
24     myself. No one has ever accused me of being in a gang.
25     7.    I would rather be living with my dad rather than living at Shiloh right now.
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 1 I declare under penalty of perjury that the foregoing is true and correct Executed on this
 2     _ _ day of         2018, at                    Texas.
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                                  Tuesday, January 16, 2018



BOARD OF DIRECTORS                Sarah B. Fabian
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Treasurer
James D. Weill
Food Research & Action Center
                                  Via email.
(FRAC)
                                           Re: Flores, et al., v. Sessions, et al., No. CV 85-4544 DMG (C.D. Cal.).
Mary Bissell
ChildFocus
                                  Dear Counsel:
Alexander L. Brainerd
Judicial Arbitration and
Mediation Services, Inc. (JAMS)   Thank you for considering measures to address the inappropriate administration of
                                  psychotropic medications to children in the custody of the Office of Refugee
David E. Brown
The Annie E Casey Foundation      Resettlement (“ORR”).
Thomas Ehrlich
Stanford University School of     Psychotropic medications have profound and long-lasting impacts on children. As
Education                         federal District Court Judge Laughrey recently explained,
Laura K. Lin
Munger Tolles & Olson LLP                  Psychotropic drugs are powerful medications that directly affect the central
Jack Londen                                nervous system. They are particularly potent when administered to children.
Morrison & Foerster LLP                    Children administered psychotropic medications are at particularly serious risk
Walter Patrick Loughlin
                                           of long-lasting adverse effects. They are more vulnerable to psychosis,
K&L Gates LLP                              seizures, irreversible movement disorders, suicidal thoughts, aggression, weight
Mary E. McCutcheon
                                           gain, organ damage, and other life-threatening conditions.
Farella, Braun + Martel LLP

Ryan J. Smith
                                  M.B. v. Corsi, No. 2:17-cv-04102-NKL, 2018 U.S. Dist. LEXIS 3232, at * 4 (W. D.
The Education Trust-West          Mo. Jan. 8, 2018)
Jory C. Steele
Stanford Law School               Many psychotropic medications have limited or no approved uses by the Food & Drug
                                  Administration (“FDA”) for children and adolescents. For example, while a few
Executive Director
Jesse Hahnel                      antipsychotic medications have some FDA-approved uses with older children or
                                  adolescents, some, including several of those administered to the youth described
                                  below (e.g., Lurasidone and Ziprasidone), have no FDA-approved uses for persons
                                  below age 18. In addition, many antidepressants have a “black box” warning for
                                  children and youth. A black box warning is the strictest warning put in the labeling of
                                  prescription drug by the FDA when there is reasonable evidence of an association of a


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serious hazard with the drug. The black box warning for antidepressants advises that they may increase the risk
of suicidal thinking and behavior in some children and adolescents.

As described in Plaintiffs’ letter of December 19, 2017, class members with special mental health needs,
particularly those housed at the Shiloh Residential Treatment Center (“Shiloh RTC”), are regularly placed on
multiple psychotropic medications, told little or nothing about these medications, and often suffer negative side
effects from such medications without recourse. The evidence also shows that children are often medicated at
Shiloh RTC without the consent of parents who are present in the United States and accessible to facility and
ORR staff.

During the parties’ meet-and-confer of January 2, 2018, Defendants requested that Plaintiffs supply specific
examples of these allegations; we do so below.



                               came into federal immigration custody on February 21, 2016. Attachment 1.
He was transferred to Shiloh RTC on March 14, 2016, Attachment 2, where he remained until April 12, 2016.
Attachment 3.

While at Shiloh RTC,           was prescribed multiple psychotropic medications: Prazosin, Quetiapine,
Sertraline, and Olanzapine. Attachment 4. This combination of drugs includes two antipsychotics, an
antidepressant, and an antihypertensive (sometimes prescribed for adults for anxiety or posttraumatic stress
disorder (“PTSD”)). The concurrent administration of more than one antipsychotic medication and/or multiple
classes of psychotropic medications conflicts with professional association guidelines. Children administered
multiple psychotropic medications at the same time suffer from an increasing number and severity of adverse
effects. Published research also confirms that the administration of an antipsychotic and antidepressant
concurrently to children or youth substantially increases the likelihood they will develop Type II diabetes and
other cardiovascular problems.

Parents of youth prescribed these drugs are cautioned to weigh carefully the risks and benefits of taking them.
For example, the National Institute of Health cautions parents of youth prescribed Quetiapine as follows:
“[Y]our parent, or your caregiver should talk to your doctor about the risks and benefits of treating your
condition with an antidepressant or with other treatments. You should also talk about the risks and benefits of
not treating your condition. You should know that having depression or another mental illness greatly increases
the risk that you will become suicidal.” National Institute of Health, U.S. National Library of Medicine,
available at Medline Plus, available at https://medlineplus.gov/druginfo/meds/a698019.html.

Plaintiffs’ review of          ORR file, produced December 27, 2017, uncovered nothing to indicate this his
mother had consented to             being given psychotropic medications. Nothing prevented Shiloh RTC from
seeking             mother’s consent to medicating him. Shiloh RTC knew that Lutheran Social Services had
already begun evaluating             mother as a potential custodian for him, Attachment 5, and that his mother
resided in Nebraska. Attachment 6. Shiloh RTC also logged                 numerous phone calls to his mother,
Attachment 7, foreclosing the possibility that Shiloh RTC staff could not have reached her via telephone.

                                                        2


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Plaintiffs’ review of          ORR file uncovered nothing to indicate that at Shiloh RTC            himself had
consented to taking psychotropic medications. When he was later transferred to Yolo County Juvenile
Detention Facility, his ORR file notes that “he does not want to continue taking the medication as he feels it is
pointless.” Attachment 8. The Yolo County case management notes report the following response to
objection: “I informed youth that we continue to work towards his goal of reunification but has to do his part in
... being medication compliant.” Id.



                              came into federal immigration custody in January 2016. He was transferred to
Shiloh RTC in June of 2016 where he remained until December 2016.

During his time at Shiloh RTC,         was placed on numerous psychotropic medications including Duloxetrine,
Clonazepam, Olanzapine, Geodon, Latuda, Divalproex, and Haloperidol. Attachment 9. This combination of
drugs includes four different classes of medication, the majority of which, four of the six, are antipsychotics
with very limited FDA-approved uses in children and adolescents. The use of multiple antipsychotic
medications at the same time is inconsistent with medical guidelines. Moreover, the use of Clonezepam (trade
name Klonipin) indicates that the other drug combination may have caused significant adverse effects – such as
akathisia, a severe movement disorder.

ORR Records indicate that, at times,     was simultaneously placed on six psychotropic drugs, plus two
additional drugs “as needed.” Attachment 9. In addition to the regular psychotropic medications he was placed
on,      was forcibly medicated on several occasions at Shiloh RTC, as well. Plaintiffs’ review of       file
revealed nothing to indicate that either   or any family members provided consent for any of these
medications.

An independent psychologist who evaluated          concluded that the multiple diagnoses        was assigned
while at Shiloh RTC were not justified based on his behavior and clinical presentation. For example,         was
diagnosed with Psychotic Disorder when he displayed none of the typical features of a psychotic disorder, but
instead presented with autoimmune encephalitis and pneumonia. During his time at Shiloh RTC, the Shiloh
psychologist identified multiple diagnoses, including Psychotic Disorder, Obsessive Compulsive Disorder and
Bipolar Disorder assigned to        that were inconsistent with his behavior. These diagnoses resulted in the
prescription of inappropriate medications that had adverse side effects, including weight gain of almost 100
pounds. After         arrived at Yolo County Juvenile Detention Facility, the Yolo psychologist recommended
that he taper off of his medications. Attachment 10. Records indicate that          health and behavior
improved after his medications were reduced. Attachment 11.

The foregoing examples are no aberration, rather they are representative of medication practices prevailing at
facilities in which ORR regularly places class members. Detaining class members at Shiloh RTC—as regards
the administration of psychotropic medications and in numerous other respects—is peculiarly at odds with
Defendants’ obligation to house children in facilities that are “safe and sanitary and that are consistent with [a]



                                                         3


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concern for the particular vulnerability of minors.” Flores Settlement ¶ 12. We accordingly urge ORR to stop
placing class members at Shiloh RTC entirely. 1 Should it decline to do so, ORR should at a very minimum



1
  The Shiloh RTC is owned and operated by the same entity that formerly operated Daystar Treatment Center,
also in Manvel, Texas.

In December 2015, the U.S. District Court for the Southern District of Texas had this to say about the Daystar
facility:

       [Texas Child Care Licensing] has closed one facility in the past five years, but it is a story of horror
       rather than optimism regarding enforcement. The Daystar facility in Manvel, Texas had a capacity of
       141 children. Between 1993 and 2002, three teenagers died at Daystar from asphyxiation due to physical
       restraints. In most cases, the children were hog-tied. Beyond these deaths, there were reports of sexual
       abuse and staff making developmentally disabled girls fight for snacks. Numerous stakeholders,
       including the district attorney, spoke out against Daystar, but the facility kept its license. In November
       2010, a fourth child died in what was ruled a homicide by asphyxiation due to physical restraints.
       Daystar’s license was still not revoked until January 2011. [Texas Department of Family and Protective
       Services] allowed this facility—that was responsible for four deaths, numerous allegations of sexual
       abuse, and unthinkable treatment of developmentally disabled children—to operate for 17 years. ... The
       Court understands DFPS’s concern that enforcement might affect placement availability. The Court does
       not understand, nor tolerate, the systemic willingness to put children in mortal harm’s way. The Court
       finds that [Texas Department of Family and Protective Services'] inadequate licensing and inspecting
       causes an unreasonable risk of harm to [Licensed Foster Care] children.

M.D. v. Abbott, 152 F. Supp. 3d 684, 803-04 (S.D. Tex. 2015).

In December 2014, the Houston Chronicle published an expose about the Shiloh RTC itself. Carroll, Federal
agency’s shelter oversight raises questions, Houston Chronicle (US & World), Dec. 19, 2014, available at
www.houstonchronicle.com/news/article/Federal-agency-s-shelter-oversight-raises-5969617.php (last visited
December 28, 2017).

Shortly thereafter, Congresswoman Sheila Jackson Lee, a senior member of the House Homeland Security and
Judiciary Committees and Founder and Co-Chair of the Congressional Children’s Caucus released the
following statement:

       I am appalled by record of abuse and mistreatment of children at the Shiloh Treatment Center in Manvel
       documented by the Houston Chronicle in an expose published December 19, 2014. The abuses
       documented in that report – ranging from physical violence, unreasonable and excessive use of physical
       restraints, administering emergency medications without notice to governmental authorities, and several
       deaths of minor children while in custody – is not reflective of the quality of care and support that
       should be provided to the at-risk children, including the dozens of unaccompanied immigrant children,
       committed to its care.
                                                        4


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dramatically increase its scrutiny of the treatment and conditions children experience during ORR custody at
Shiloh RTC.

We look forward to Defendants’ response to the foregoing.

                                            Sincerely,


                                            Leecia Welch
                                            One of the attorneys for Plaintiffs




jacksonlee.house.gov/media-center/press-releases/shiloh-treatment-center-in-manvel-should-be-closed-by-hhs-
for (last visited December 28, 2017).


                                                         5


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                          Attachment 1




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    (
            U.S.Dcp111·tmcnl
                          onTomcl11nd
                                    Security                                                      Warrant for Arrest of Alien
                                                                                                            File No,
                                                                                                            Evant No:MCS1602000568
                                                                  FINS #:1200597984                         Dam:Fabruary 22, 2016




                   To any officer delegated authority pursuant to Section 287 of the Immigration and Nationality
                   Act:


                   From evidencesubmittedto me, it appears that:

                                                       (Pull umo atallon)

                   an alien who entel'edthe United States at or near ______                         8
                                                                                               _T_zXA______
                                                                                        ux_DAL~oo~,                                    on
                                                                                                art
                             2 1 20 1 6
                              _ ~•~ _ ~ _ ____
                   _F_e_b_ru_a_r_Y_               is within the countryin violationof the immigrationlaws and is
                                  (Dale)


                   therefore liableto beingtaken into custody as authol'izedby section236 of the Immigrationand
                   NationalityAct.
(       (
                   By virtueof the authorityvested in me by the immig1·ation
                                                                           laws of the United States and the
                   regulationsIssuedpursuantthereto, I commandyou to take the above-namedalien into cl1stodyfor
                                                                                       1
                   proceedingsIn accordancewith the applicableprovisionsoft             immi ,affon Jaws and regulations.



                                                                                (!l.,,111n a111csi,.,acc4
                                                                                                       1...,.pal!oe omcu)
                                                                               WILLIAMA. ~SEY

                                                                            ACTING PATROL AGENT IN CHARGE
                                                                                                 (Tillol




                                                     Certlflcate of Service
                              MaAll.an, Texas
            Servedbymeat _____________                          on February 22, 2016 at            04:42 AM      ,
            I certify that followingsuch service,the alien was advisedconcerninghis or her right to counseland was
            furnished a copy of this warrant.




                                                                             Border     Patrol             Agent
                                                                                                 ........
(                                                                                                                           Fonnl-2ao(Ro" OMJ1in7)
                                                                                                                                                N




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                          Attachment 2




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Shiloh Treatment Center                                                                                      Psychosocial History
                                                                                                  Office of Refugee Resettlement


Treatment History
        Have you ever been taken to the hospital or emergency room because you were hurt?
                  ~\-eA


        Have you ever talked to a psychiatrist or counselor about an emotional problem?
             c02     f'Jt\JU\r!         ~~+-                          Vr S'-1-

        Have you ever been seen in a psychiatric emergency room or been hospitalized for psychiatric reasons?

             cP pre..v, €\ovo                        ~ -t- ~                 ll

       Have you ever been advised to take medication for anxiety, depression, hearing voices for any other emotional
       problems?

                  R-r     ·~r ciQ___,p~gstK S~t'<'~s. -b~_~ ~ !J¥Vv-

        List the shelters, foster homes and facilities you have resided in since being detained in the United States.




Substance Abuse History
       DDenies Any History of Substance Abuse
       Substance                  Date of First Use            Frequency                                     Date of Last Use

       Alcohol
       Marijuana
       Cocaine
       Other Stimulants
       (Meth, Ritalin, etc.)
       Other Opiates
       (Oxycodone, Morphine)
       Nicotine                  ::: 1-:) J'/j lfYUVv.r        (0   Cl M-ye_---ffed /   rl rLoJ              ¢:   d).J?-.2-/JG?
       Triggers for Substance Abuse:
                                        ' lllCIU
                                                   (1/ /Jtt-
                                                                      u            I
                                                                                             '
       Consequences of Substance Abuse:
                                                       '


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                          Attachment 3




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    identified?
    Specify:

(   ·•
    Provide a short summary of the UACs current functionlna:
                                                                                              Mental Health


    05/12/2016 •           was transferred to NOVAfrom Shiloh RTCon 4/12/2016, but he came Into ORRcareon 02/23/2016. During this time, he moved from a shelter, to a psychiatrichospital, to a
    residential treatment center, ultimately being placed in NOVAsecure. Upon arrival,             initially presented with severe depression and complications associated with a traumatic head injury,
    resulting In psychiatric hospitalization for crisis stabilization and a recommendation for on-going Inpatient treatment. He was also prescribed seroquel and zoloft to manage his mood and sleep .
    However, while at Shiloh,           began exhibiting aggressive behaviors towards staff and peers, which resulted in the move to NOVA.
    Upon his arrival,          exhibited symptoms of depression and he reported symptoms of PTSD. He also refused to leave his room and made threats against staff and peers . However, it seemed
    that, as a result of his traumatic experiences,          was afraid to leave his room and would use threats to avoid having to leave. He was assessed by the psychiatrist, who added Minipress to his
    medication regimen to treat his PTSD. Clinicianalso recommended a slow Integration into the community to ease his anxiety about being In a secure environment. In the past two weeks,
    has reported an improvement in depression, anxiety and sleep and a decrease in threatening and destructive behavior. He also reported a decrease in intrusive thoughts. He has been able to
    attend school every day for almost all of the school day. Finally,he participates appropriately in therapy and is committed to continuing his medication regimen. If he is able to maintain this
    behavior, clinician will discuss whether to refer the UCback to a residential treatment center for Intensive treatment or to a staff secure program.
    PsychologicalEvaluation
    Date of
    Evaluation:
    Evaluator:
    Axis!:
    Axlsll:
    Axlslll:
    AxisIV:
    AxisV:
    Summary of Recommendations:

                                                                                                 Trafficking
    Who planned/organized         your Journey?
    What were you told about the arrangements              before the journey?
    Did the arrangements       change during the journey?                                                                                                                                          r    r,
                                                                                                                                                                                                   Yes No

    If yes, how?

(   Does your family owe money to anyone for the journey?                                                                                                                                          r    r,
                                                                                                                                                                                                   Yes No

    If yes, how much?
    Whom is the money owed?

    Who Is expected to pay?
    What do you expect to happen if payment Is not made?
    Coercion Indicators
    Did anyone threaten      your or your family?                                                                                                                                                  r    r,
                                                                                                                                                                                                   YesNo

    If yes, who made the threats?
    Were you ever physically harmed?                                                                                                                                                                r   r,
                                                                                                                                                                                                   Yes No

    If yes, how?
    Was anyone around you ever physically harmed?                                                                                                                                                  r    r,
                                                                                                                                                                                                   Yes No

    If yes, who?

    Were you ever held against your will?                                                                                                                                                           r r,
                                                                                                                                                                                                   YesNo

    If yes, where?

    Did anything bad happen to anyone else In this situation or anyone else who tried to leave?                                                                                                     r   r,
                                                                                                                                                                                                   Yes No

    What happened       and to whom?

    Did anvone ever keep/destroy         your documents?                                                                                                                                            r   r,
                                                                                                                                                                                                   Yes No

    If yes, who and what?

    Did anyone ever threaten        to report you to the police/Immigration?                                                                                                                        r   r,
                                                                                                                                                                                                   YesNo

    If yes, who?
(   Are you worried anyone might be trying to find you?                                                                                                                                             r   r,
                                                                                                                                                                                                   YesNo

    If yes, who?
    Debt Bondage/ Labor Trafficking
    Did you perform any work or provide any services?                                                                                                                                               r   r,
                                                                                                                                                                                                   Yes No




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                          Attachment 4




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                                                                                                                            04/04/2016
                                  Patient         Profile            - Active          Medications


Client:                                                                                    Teaching      Home:sB-B
Physician:JAVIER     RUIZ-NAZARIO,            MD
Allergies:No     Known Drug Allergy




Rx #         Medication                                     Instructions                                                        Start    Date
                                              ***   Psychotropic      Medications      ***
53227        PRAZOSIN HCL CAP 2MG                           TAKE 1 CAPSULE BY MOUTH DAILY at           9:00   PM                 03/16/2016


53285        QUETIAPINE     TAB 200MG                       TAKE 1 TABLET BY MOUTH DAILY at           9:00    PM                 03/29/2016


53249        SERTRALINE     TAB 50MG                        TAKE 1    ~   1/2   TABLETS BY MOUTH DAILY at      7:45   AM         03/22/2016

                                            ***   PRN Psychotropic        Medications***

53294        OLANZAPINE     TAB lOMG                        TAKE l TABLET BY MOUTH EVERY 6 HOURS AS NEEDED                       03/30/2016
                                                            FOR MILD AGITATION


53300        OLANZAPINE     TAB lOMG ODT                    DISSOLVE 1 TABLET BY MOUTH EVERY 6 HOURS AS                          03/31/2016
                                                            NEEDED FOR MODERATE AGITATION

                                            ***   Non-Psychotropic        Medications***

53230        BAC/NEO/POLY   QIN                             APPLY TO AFFECTED AREA ON FEET TWICE A DAY at              7:        03/16/2016
                                                            45 AM and 9:00 PM


53229        DEEP SEA       SPR 0.65%                       INHALE 2 SPRAYS INTO NOSTRIL TWICE A DAY AS                          03/16/2016
                                                            NEEDED at 7:45 AM and 9:00 PM


53295        OLANZAPINE     INJ    lOMG                     INJECT iOMG INTRAMUSCULARLY EVERY 6 HOURS AS                         03/30/2016
                                                            NEEDED FOR SEVERE AGITATION




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                          Attachment 5




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Admission Assessment                                Name:
Shiloh Treatment Center, Inc.                                             Case#:
                            Honduras. He tried again on 1-31-16, leaving alone and on foot, and
                            paying his own way. He stopped in Mexico a few times to work in
                            construction and to save up more money for the remainder of his trip.
                            He asked other travelers along the way for directions, and traveled
                            with other groups of travelers when he could. He crossed the border
                            near Hidalgo by swimming across the river and then walking through
                            the desert. He was apprehended by border guards on 2-21-16 and
                            sent to shelter at Lutheran Social Services while his case could be
                            evaluated.

                            He was placed at Lutheran Social Services in New York on 2-23-16,
                            where he made runaway threats and suicidal threats with a plan and
                            he was sent to Bellevue Hospital for psychiatric inpatient services on
                            2-26-16. During his treatment at previous facilities, he has also     ·
                            shared that he has suffered from many traumatic events. He reported
                            that he has intruding flashbacks from witnessing his uncle getting shot
                            in the leg by gang members, and eventually having to have that leg
                            amputated. He also reported witnessing several other gang related
                            incidences which included his grandmother getting injured, and being
                            robbed by gang members while riding the train through Mexico. LSS
                            has referred him to Shiloh Treatment Center for subacute care and a
                            30-day psychiatric evaluation while his mother is attempting to be
                            approved as his sponsor so that they can reunite.


      Aliases:              None reported

      Marital Status:       Single

      Abuse, Neglect,       Abandonment by father. History of severe traumatic events instigated
      Persecution, or       by gang members in home country, and while traveling to the US.
      Exploitation:

      Typical Day in Home          reports that he would wake up at 5am, eat breakfast, and go to
      Country:              work in the fields. He quit school in 2012 so that he could work and
                            save money to come to the US. Work ended at 2pm, when he would
                            return home, relax, listen to music, and clean up and get ready for
                            dinner at 6:30. Depending on how tired he was, he would go to bed
                            between 8 and 11.

Physical Characteristics:   He is of average weight and height, and appears his stated age.

      Size:                 5'-7""   170 lbs.

      Characteristics:      He has a medium complexion with brown eyes and black hair that he
                            wears short and spiked up. He has some scars on his head from
                            injuries sustained in home country.



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                          Attachment 6




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Shiloh Treatment Center                                                                                Psychosocial History
                                                                                            Office of Refugee Resettlement




                                                            /
        Sexually Active:                                E1',_--             • No
        Sexually Orientation:                           Bfieterosexual      • Homosexual    DBi-sexual

        History of Sexual Activity:   b'3'1-A-:--c                o± ~
                                              Jr >:/ltct../r!J;2/wtf1                               {2
Legal History




Family History
        Birthplace (City, State, Country):   D\{Ut\(;V\ 0 J     1J~d, VroJ
        Current place of residence (City, State):             1 _t'~'f:
                                                                   _______________
                                                    _N\~_6-..:_n_if_e,~\
                                                             _,_                                                         _
        List Family Members and Persons Living in Home Country.
        Name                                                Relationship to Client    Age         Country

                                                                                                         wurtl.J




        List Family Members and Persons Living in the United States.
                                                            Relationship to Client    Age          City, State




                                                    Copy to Medical Chart                                        Page 7 of 10
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                          Attachment 7




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                                                         #:16560
   Shiloh Treatment Center, Inc.

                                                               MonthlyPhoneLog


Client:

Month: ·

Record all calls made. or received b the client, as well as all calls Shiloh staff makes or receives on behalf of the client.
                                                         lndividual{s) Callw
Source of                                                or Calling
Call             Date       Time      Call From/ To      Ust All.
                                        Client
                                        Service
                                      Director
                                      •• Client
                                         service
                                       Director
                                         Client
                                      •Dkector
                                          Service
                                                                                  l. .
                                                                                 l'\,W~
 • Initiated                           •• Client
                                          Service
 • Received                           Director
                                      • Client
 •• Initiated
     Received
                                      •Director
                                            service


                                       • Client
 • Initiated                           •Director
                                            service
  • Received
  •• Received                           • Client
     Initiated                          •Director
                                            Service


                                         • Client
 •• Initiated
    Received
                                         •Director
                                             service                                                                                                 ~- __.._
~---~--~-~---~~----,--:----.-___._                                               __      __,_________                       __,______          -----1\':;:;-..__..,
 Revised 01/22/15                                                                                                                                      \.,,--'"' ·


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                          Attachment 8




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     -                   Yolo County Juvenile Detention Facility
              Office of Refugee Resettlement Program: Yolo Secure Facility
                                  Case Management Notes
                               Youth Name:

                                               DOB:         2000

Date:              Met with youth to discuss recent behavioral issues. Youth reported he has been
 11/18/2016        frustrated with the actions of other youth in his housing unit and his current case
Case Manager:      status. Youth was reminded of what has been requested in his case and the
Jose C.            completion of an Interpol check. Youth reported he does not want to continue taking
                   medication as he feels it is pointless. We discussed his concerns and how he should
                   follow up with the Dr. for clarification on medication and possible adjustment. Youth
                   stated he is not interested in speaking with the Dr. I informed youth that we
                   continue to work towards his goal of reunification but has to do his part in correcting
                   his behavior and being medication compliant. Youth was provided a phone call to his
                   mother for an update and to discuss his recent behavioral issues. Was reminded that
                   his Clinician will be facilitating family session as well.
Date:
Click here to
enter a date.
Case Manager:
Choose an item.
Date:
Click here to                                                      ...
enter a date.
Case Manager:
Choose an item.
Date:
Click here to                                                                  -· ·•             ..,   '•   ,   ..., ......    ...
enter a date.
Case Manager:
Choose an item.
Date:
Click here to
enter a date.
Case Manager:
Choose an item.
Date:
Click here to
enter a date.
Case Manager:
Choose an item.
Date:                                                                                  .   ..   ..     ,.           ·•·-   .   . ,·, .
Click here to
enter a date.
Case Manager:
Choose an item.
Date:
Click here to                                                                                          Exhibit 27
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                          Attachment 9




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                                                                                                                                      12/12/2016

                                Patient              Profile             - Active           Medications


  Client:                                                                                      Teaching      Home:s s-A

  Physician    :JAVIER RUIZ- NAZARIO, MD
  Allergies:




                                                                Instructi       o ns                                                      Start      Date
  Rx #         Medication
                                                    «*•   Psychotropic      Med ica tions
                                                                                                                                           0 7 /0 5/20 16
  53713        BENZTROPIN E   TAB lMG      /                    TAKE 1 TABLET BY MOUTH DAI LY at          9:0 0 PM



  54435        CLONAZEPAM     TAB 2MG          /                TAKE 1 TABLET BY MOUTH TWIC E A DAY at
                                                                9: 00 PM
                                                                                                                    7:4 5 AM a nd          12 / 12 /20 16




  5 443 4      DIV ALPROEX    TAB 50 0MG ER         /            TAKE 1 TABLET BY MOUTH TWICE A DAY at
                                                                 9: 00 PM
                                                                                                                     7: 4 5 AM an d        1 2/ 1 2/20 16




  539 7 4      DULOXETINE     CAP 60MG
                                                   c/            TAKE l CAPSULE BY MOUTH DAI LY a t 7:45            AM                     0 9/ 14 /201 6



  54427        GUANFACINE     TAB 2MG ER            /            TAKE l TABLET BY MOUTH DAI LY at         7 : 45   )Uol                     12 / 06/ 20 16


                                                                 TAKE l TABLET BY MOUTH DAIL Y FOR 4 DAYS THEN I NC                         11 / 29 / 2 0 16
  54384        LATUDA         TAB 120 MG
                                                                 at 9: 0 0 PM


                                                                 TAKE l TABLET BY MOUTH DAILY (TAKE ALONG lvIT H                            11 / 29 /20 1 6
  5438 5       LATUDA         TAB 40MG
                                                                 160MG AFTER BEING ON 1 20MG 4 DAYS ) at 9:00 PM

                                                   *** PRN Psychotropic        Medicat i ons***

                                                                 INJE CT 20MG I NTRAMUSCULARLY EVERY 8 HOURS AS                             0 6/ 02 / 20 16
   53580       GEODON         I NJ 20MG
                                                                 NEEDED .OR AGGRESSI VE BEHAVIOR


                                                                 INJE CT lOMG INTRAMUSCULARLYEVERY 6 HOURS AS                               09 /2 0 /2 0 1 6
   5 399 7     OLANZAPINE     INJ   lOMG
                                                                 NEEDED SE VERE AGIT ATI ON, PBSICAL AGRES S ION


                                                                 DIS SOLVE 1 TABLET BY MOUTH EVERY 6 HOURS AS                               09 /2 0/ 20 16
   539 98      OLANZAPI NE    TAB lOMG ODT
                                                                 NEEDED FOR AGITATI ON AND AGGRESSIO N

                                                        Non-Psyc hotropi     c Medic ati ons   ~**

                                                                 GI VE 1 S HAKE 3 TIMES DAI LY (OFFE R TO REPLACE A                         11 / 30/2 016
   54399        MEAL REPLACEMENT SHAKE
                                                                 MEAL ) a t 7:45 AM, 12:00 PM a nd 6 :00 PM




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                                                                                                                                         06/13/2016

                               Patient       Profile               - Active                Medications


                                                                                             Teaching      Home:s8-A
Client:
                           RUIZ-NAZARIO,   MD
Physician:JAVIER
Allergies:



                                                                                                                                              Start    Date
              Medication                                      Instructions
Rx #
                                            *** Psychotropic           Medications         ***
                                                                                                         9:00    PM                            06/02/2016
                              TAB 0.SMG                       TAKE 1 TABLET BY MOUTH DAILY at
53577         BENZTROPINE

                                                                                                          9:00    PM                           06/02/2016
                              TAB lMG                         TAKE 3 TABLETS BY MOUTH DAILY at
53578         HALOPERIDOL

                                                                                              DAILY at                 7:45        AM,         06/02/2016
                              TAB lMG                         TAKE 3 TABLETS BY MOUTH 3 TIMES
53579         LORAZEPAM                                       3:30 PM and 9:00 PM


                                                                                            3 TIMES               DAILY       at    7:          06/08/2016
                              TAB 2MG                         TAKE 1 & 1/2 TABLETS BY MOUTH
53606         LORAZEPAM                                                    PM and 9:00 PM
                                                              45 AM, 4:00
                                                 ?~~sychotropic              Medications         ***
                                           ***   '-ttefl.-P
                                                                                                8 HOURS AS                                      06/02/2016
                               INJ 20MG                       INJECT 20MG INTRAMUSCULARLY EVERY
              GEODON
 53580                                                        NEEDED FOR AGGRESSIVE BEHAVIOR




                                                                                                                                            NCYL_000980
                                                                                                                                         Exhibit 27
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                          Attachment 10




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12/29/2016      12:24     1661255T   '1                                JOHNBAKER                                      PAGE 16/21
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   PAOBLEM(S)
                        DATE                                           PROGRESS NOTES
    TREATEO




                                                   PROGRESS NOTES

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  S - SUBJECTIVE
  0 • OBJECTIVE                                                California ForensicMedic~~':;
  A - ASSESSMENT                                               I      N_   C    O     R      P       O   R       A   T   E   D
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  P · PLAN              .
                        ;             DOB:   0
  NAME: -    -   --'-                                          -----                         DOB: ___                _   _    _   BOOKING NO.: _   _____      _   _   _   _
                             (Last)                                            ..
                                                                           (M l)

    PROBLEM(S)
     TREATED                          DATE                                                       PROGRESS NOTES

                            11-, 10   1.::                        Writer met with Youth on B-Pod for new intake. Youth reports that
                                                 l\T,-.. , lnhtlr""

      wlln              1-"n"M          ~        hP   mas transferred to this facility due to maladaptive bhx in his previous
                            ()01'i~7             nlacement. Youth denies any current or past MH Rx, though his chart reveals that
                                                 this incorrect. Youth is currently Rx'd Cymbalta, Atarax, Depakote, Klonopin,
                                                 Latuda. and Cogentin. Youth denies any family hx of mental illness or suicid e,
                                                 Y Anth denies anv current thoughts of SI/HI or SIB. He clearly contracted for
                                                 ,rnfP.tv He denies anv oast SA. Youth denies any current sxs of depression or
                                                 <>nviP-tv
                                                        thornzh this annears incongruent as it was repmted to this writer by .
                                                 medical staff that Youth was verv tearful upon intake. Youth denies any past
                                                 mh"t"n"e abuse. Youth will be olact:d on MHMD sic. MH F/U x4 weeks or PRN.
                                                 HP :~ <>w0 e nf s/c nrocess.


                                                 M~F· V 011th ?resented with good eve contact, but a flat and guarded affect/mo
                                                                                                                                od.
                                                 r~~~ht     and iud1Jn1entare poor. Thoughts were clear and linear, goal oriented. No

                                                 .          is sxs observed or exoressed. Speech was clear. No acute distress .


                                                                                                     0~ ..No..!~d
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                          Attachment 11




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  01/05/2017      12:05       1661255?-   !                           JOHN BAKER                                              PAGE 01/13



   S · SUBJECTIVE
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   A· ASSE:SSMi;;NT                           I   N   C   O   I   I    0,   •   1'   I   I   0
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     PROBLEM(S)
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      TREATED




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                     Exhibit 30
             REDACTED VERSION OF DOCUMENT
                   FILED UNDER SEAL




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 1     I,                                                   declare as follows:
 2     1.     This declaration is based on my personal knowledge. If called to testify in this
 3     case, I would testify competently about these facts.
 4     2.    I arrived in the United States at the end of 2014. I have been in six shelters and one
 5 hospital. I am currently in the shelter at MercyFirst in Syosset, New York.
 6 3.        After I an·ived in the U.S., I was in a shelter in Texas and then they transferred me
 7     to a hospital for crazy people. Being there made me feel desperate; I felt like I would go
 8 crazy. The walls were all white and they made you sit in a special seat if you misbehaved.
 9 I stayed for 14 days.
10 4.        After the hospital, I went to a shelter in BJ Paso, Texas called Southwest Key and
11     then to one in Houston. They moved me to Houston because the staff there could give me
12     more medicine. I don't remember if I got anything in writing about their decision but I
13     don 't think I had an opportunity to challenge it.
14     5.    From Houston, I was moved to Shiloh. ln Shiloh they gave me even more
15     medicine. I took nine pills in the morning and seven in the evening. I don't know what
16     medications I was talcing; no one ever told me that. I don' t know what my diagnosis or
17     iJJness is. The medicine made me fat. I used to be really skinny. It made me very hungry;
18    I used to eat three plates at a time.
19    6.     Some of the staff at Shiloh would provoke the children there and make us angry
20    intentionally. They made us act violently so then we bad to be given shots. The staff
21    would insult us and call us names like "son of a whore." They often did it in English but I
22    understood some English so I would know what they were saying and get really angry.
23    7.     Two of the staff members were violent with me. One was a teacher whose name
24    was "Hors." He called the medical staff to the classroom to give me shots many times.
25    One time, I got angry in class and wanted to leave the classroom. I was sitting down but
26    he came and touched me so I got angrier. Then he grabbed me and twisted my ann
27    behind my back then lifted up so I felt like my shoulder was braking. I screamed. The
28    teacher had done the same thing to one of my fdends.


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 1 8.      When he would call the medical staff, they would come and give me a shot to
 2 tranquilize me. It happened many times. They would give me the shot and then I would
 3 start to feel sleepy and heavy, and like I didn't have any strength. I would sleep for three
 4 or four hours and then wake up and slowly start to feel my strength return. When the
 5 did th~ they left :me in the classroom near the wall to sleep. I also saw them do that to
 6 one of my friends,.
 7 9.      Another staffmember at Shiloh was also violent with me twice. I don't know his
 8 name; he was older and he retired while I was there. When he grabbed me, he would
 9 bend my hand all the way back so it almost touched my wrist It really hurt. I almost
10 cried, but he just laughed.
l 1 10.    I wanted to stop taldng all the medication they were giving me at Shiloh but when 1
12 told the doctors that they told me that I had to continue because it calmed me. I met with
13 two different doctors there; both were men. I said the problem is this place, it makes me
14 angry. I was so scared there, I tried to behave well to get tranSferred.
15   11.   Finally, I was transferred to Sky in Chicago in November, 2016. There, the doctor
16 let me begin to stop taking the medications I didn't like. I was right From the day I got to
17 Chicago, I never got angry again. I felt better every day, as I stopped taking so much
18 medication.
19 12.     In May, 2017, I was moved to the Residential Treatment Center at MercyFirst. I
20 don't know why exactly. The staff said I would be treated better here. I didn't want to go
21   because I had gotten accustomed to 1he program there but I agreed and I went voluntarily.
22 I don't remember if I was given anythmg in writing.
23   13.   I was taken to the hospital three or four times while I was at RTC but 1 never
24   stayed overnight. I did not have any discipline problems that I remember.
25   14.In October. 2017. I was stepped down ftom theRTC to the shelter atMercyFirst
26 Now, my case worker says she is about to submit the paperwork for me to go to long-
27 term foster care and live with a family. My only relative in the U.S. is my grandmother's
28

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 1 brother and be does not want to sponsor me. I miss my family in Mexico, especially my
 2 mom, but I am scared to go back there because ofthe people who threatened to .kill me.
 3 15.     I have not gotten a notice about a bond hearing o{ a list of legal services.
 4
 5 I declare under penalty of perjury that the foregoing is                    Executed on this
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 1                              CERTIFICATE OF TRANSLATION
 2         I, Andrea Barrientos, hereby certify that I am proficient in both Spanish and
 3   English, and that I accurately translated the foregoing statement and read it back to .
 4                               in its entirety in Spanish on November 15, 2017.
 5
 6
 7                                          Andrea Barrientos
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